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Attorney for Defendant Hayden Beard

                             UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF ALASKA


 UNITED STATES OF AMERICA,                       Case No. 3:18-cr-00029-RRB

                          Plaintiff,             NOTICE OF DEFENDANT’S
                                                 WAIVER OF PRESENCE FOR
         vs.                                     RESTITUTION PROCEEDINGS

 HAYDEN BEARD,

                          Defendant.

        Defendant Hayden Beard, through counsel, Gretchen L. Staft, Assistant Federal

Defender, hereby notifies this court that he waives his presence for the restitution

proceedings in this matter so that he may be transported to serve his sentence with the

Bureau of Prisons without further delay. A restitution hearing is currently scheduled for

July 2, 2019, and parties are working to determine whether an agreement can be reached

short of a contested hearing. The undersigned will coordinate with Mr. Beard and the

prosecution in this regard and will represent his position to the court accordingly.




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         DATED at Anchorage, Alaska this 3rd day of May, 2019.

                                                                 Respectfully submitted,

                                                                 /s/ Gretchen Staft
                                                                 Gretchen Staft
                                                                 Assistant Federal Defender

                    Certificate of Service:
I hereby certify that I electronically filed the foregoing and
any attachments with the Clerk of Court for the United
States District Court for the District of Alaska by using the
district’s CM/ECF system on May 3, 2019. All participants
in this case are registered CM/ECF users and will be served
by the district’s CM/ECF system.

/s/ Gretchen Staft




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